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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 HC2, INC.,                                               Civil Action No.: 20-cv-3178 (LJL)
                          Plaintiff,

 v.                                                    DECLARATION OF STEPHANOS
                                                    ZANNIKOS, ESQ. IN SUPPORT OF HC2’S
 ANDREW DELANEY,                                    OPPOSITION TO PLAINTIFF’S MOTION
                                                    TO DISMISS PURSUANT TO FED. R. CIV.
                          Defendant.                             P. 12(b)(1)




       I, Stephanos Zannikos, declare as follows:

        1.       I am the General Counsel for Plaintiff HC2, Inc. (“HC2”) and submit this

declaration in support of HC2’s Opposition to Defendant’s Motion to Dismiss HC2’s Complaint

pursuant to Federal Rule of Civil Procedure 12(b)(1).

       2.        I have personal knowledge of all the facts stated herein based on my personal

knowledge and my review of Plaintiff s records. In addition, I have reviewed Plaintiffs Motion to

Dismiss (“Motion”) and all supporting documents fded therewith.

       3.        HC2 is a legal staffing company that provides attorneys, paralegals, and other legal

professionals (“Contract Professionals”) as well as associated workspace, IT infrastructure, project

management, and related services to satisfy the short-term and long-term staffing needs of its third

party customers, including law firms, corporations and government agencies.

       4.        HC2’s success is built upon its reputation and goodwill. For that reason, the

performance and conduct of each of its Contract Professionals has a direct impact on HC2’s

continued success.

       5.        A key part of HC2’s goodwill is dependent upon its reliability in providing highly

competent and trustworthy legal professionals who abide by their contractual obligations as well
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as to professional norms governing attorneys and paralegals who are required to keep inviolate the

confidentiality of information learned while working with our law firm clients and their legal

clients.

           6.       Delaney’s conduct caused irreparable harm to HC2’s goodwill and standing in the

marketplace. Delaney’s egregious conduct has required HC2 to expend time and financial

resources to defend its gold-standard reputation in the marketplace, a reputation for excellence it

earned over the course of decades.

           7.       As of the date of this filing, HC2’s attorney’s fees related to this matter are well in

excess of $75,000.

           8.       Furthermore, during the course of my employment with HC2,1 had knowledge of

the five lawsuits referenced in Plaintiffs motion, specifically:

                 a. Jenikv. HC2, Inc., et a\, 158568/2015 (Sup. Ct. NY County, 2015), which was filed

                    on August 19, 2015;

                 b. Mendez v. HCMC Legal, Inc., el al., Civil Action No. 1:19-cv-00660-DAB (SONY

                    2019), which was filed on January 23, 2019;

                 c. Wenze v. HCMC Legal, Inc., et al.. Civil Action No. l:19-cv-00663-PGG-GWG

                    (S.D.N.Y. 2019), which was filed on January 23, 2019;

                 d. Dow, et al. v. HC2, Inc., et al.. Civil Action No. 19-cv-00839 (D.D.C. Nov. 13,

                    2019), which was filed on March 25, 2019; and

                 e. HC2, Inc. d/b/a Hire Counsel v. Antonelli, 653107/2019 (Sup. Ct., NY County,

                    2019), which was filed on May 24, 2019.

           9.       The Jenik case was filed in 2015 and appropriately named New York as the

principal place of business, given that at the time, New York was HC2’s headquarters and where

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it housed most of its executives, including the CEO. Furthermore, this case concluded in

September 2016.

           10.   The Dow case was fded in the Federal District Court of the District of Columbia,

and properly alleged HC2 is a D.C. corporation, and therefore appropriately fded in the court, but

mistakenly alleged that HC2’s principal place of business is located in New York.

           11.   With regard to the remaining three cases fded in 2019 - Mendez, Wenze, and

Antonelli - HC2 was in the process of transitioning its headquarters from New York to Chicago

beginning with the hire of CEO Joan Davison on March 3, 2017, and throughout 2018 and 2019,

with the hire of additional executives and the relocation of Chicago’s office to a larger office space;

as a result, HC2’s headquarters was in flux. HC2 mistakenly but in good faith identified New York

as the principal place of business in these three actions due to the transition and previous practice

of routinely naming New York.

           12.   Neither jurisdiction nor venue was challenged in any of the above-referenced

actions.

           13.   HC2’s principal place of business is - and was at the time HC2 fded the instant

matter - located in Chicago, Illinois. HC2 will be reviewing its public registrations and making

any necessary corrections.

           14.   I regret any confusion caused.

       I declare under penalty of perjury that the above is true and correct, and that I executed this

declaration this 11 day of January 2021 in New York, New York.




                                                               STEPHANOS ZANNIKOS

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